    CORRECTED APPENDIX M:
      Affidavit of Jamie Pope,
         September 1, 2016




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                           UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 Case No.: 7:13-cv-145-F

LISA COOPER,                                    )
                                                )
                                                )
                       Plaintiff,               )
                                                )
v.                                              )                AFFIDAVIT OF JAMIE POPE
                                                )
                                                )
                                                )
                                                )
THE SMITHFIELD PACKING                          )
COMPANY, INC.,                                  )
                                                )
                       Defendant.               )



        Jamie Pope, being first duly sworn, deposes and states as follows:

        1.       I am over the age of eighteen, under no legal disability, and have personal knowledge

of the facts set forth in this declaration.

        2.       I am providing this declaration voluntarily and of my own free will. I have not been

promised any benefit for making this declaration, nor have I been threatened with any reprisal for

choosing not to make this declaration.

        3.       I was employed by The Smithfield Packing Company, Inc., (“Smithfield, the

“Company” or “Tar Heel”) as the Director of Human Resources at the Company’s Tar Heel, North

Carolina plant, located at 15855 NC-87 in Tar Heel, North Carolina. I held this position for

approximately three years. For two years before that, I held the role of H.R. Manager at Tar Heel. I

spent a total of over 10 years working for Smithfield. During the time I served as Tar Heel’s

Director of Human Resources, I was responsible for overall implementation and enforcement of the

Company’s employee, labor and human relations policies and programs at the Tar Heel plant. In

early 2014, I voluntarily left Smithfield to accept a job offer with another company.

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       4.      I am familiar with Lisa Cooper and with the allegations she is making in this case.

Ms. Cooper was employed as a Case Ready Supervisor until her resignation on July 20, 2011. I

personally investigated her claim of sexual harassment against her supervisor, Case Ready

Superintendent Tommy Lowery.

       5.      Smithfield prohibits all forms of workplace harassment, including sexual harassment.

The Company’s anti-harassment policies are contained in the Smithfield Code of Business Conduct

and Ethics (attached as Exhibit 1) and the Anti-Harassment policy (attached as Exhibit 2).

Smithfield also maintained an anonymous hotline that employees could call to make workplace

complaints. During the time I was employed as Tar Heel’s Director of Human Resources, we went

to great lengths to make employees aware of Smithfield’s anti-harassment policies and hotline,

including taking the following actions:

            a) Employees, both hourly and salaried, were provided with a copy of the Code of

               Business Conduct, as well as information on how to use the employee hotline, at the

               beginning of their employment as part of Tar Heel’s new employee orientation

               program. Employees were required to sign off on having received this information.

            b) Copies of the Code of Business Conduct and information on the hotline were also

               available in the Tar Heel Human Resources office, which is located on site at the Tar

               Heel plant and readily accessible to employees. I personally handed out copies to

               countless employees during my employment.

            c) The Anti-Harassment policy was e-mailed to all plant management and

               administrative personnel.

            d) Copies of the Anti-Harassment policy and information on the hotline were physically

               posted on employee bulletin boards located in numerous areas throughout the plant.

            e) Copies of the Code of Business Conduct and information on the hotline were

               provided to the Union that represents the hourly employees working in the plant.
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            f) Smithfield provided periodic training to Union stewards and to Company

               management personnel on best practices for addressing workplace issues, including

               dealing with complaints of workplace harassment.

            g) I directed operational managers and supervisors to periodically review these and

               other Company policies with employees to answer any questions they had about the

               policies (or to direct those questions to my attention).

            h) Smithfield required plant management and administrative employees to certify

               annually that they were both personally in compliance with the Code of Business

               Conduct and that they were not otherwise aware of any violations. Attached as

               Exhibit 3 are copies of the certifications signed by Ms. Cooper in 2010 and 2011;

               these forms were kept in her personnel file which we maintained in the Human

               Resources office. I can certify that during my time as Director of Human Resources,

               we maintained these records in the normal course of business.

       6.      During my time as Tar Heel’s Director of Human Resources, my office received and

investigated workplace complaints involving our anti-harassment policies. We customarily took

several steps in responding to a complaint of workplace harassment. First, we would interview the

complaining party to determine the nature and potential severity of the complaint. We would then

determine whether any immediate remedial action was necessary. For example, if an employee made

a credible initial complaint of a threat of harassment by a supervisor or co-worker, we would separate

the complainant and the alleged harasser to minimize or eliminate their interactions pending

completion of our investigation. We would then interview and obtain statements from both the

complainant and the accused. We would also interview and obtain statements as necessary and

appropriate from potential witnesses. Once our investigation was complete, we would review the

information obtained and determine whether the complaint could be substantiated. If we could verify

a complaint as credible, we would initiate disciplinary action against the accused in consultation with
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his or her management chain (the anti-harassment policies provide that violations may be punishable

by up to and including termination of employment). We would also review the Company’s anti-

harassment policies with involved parties, as appropriate.        I believe the process we used to

investigate complaints of workplace harassment was fair and effective. During my time as Tar

Heel’s Director of Human Resources, I participated in the termination of employees that my office

concluded violated the Company’s anti-harassment policies.           In each case, we reached that

conclusion because we were able to corroborate the allegations being made against these employees.

       7.      I personally handled the investigation of Ms. Cooper’s complaint against Mr.

Lowery. The first and only time Ms. Cooper, to my knowledge, complained about Mr. Lowery

harassing her was on July 18, 2011. I have no knowledge of Ms. Cooper making any complaint of

harassment regarding Mr. Lowery before that date. She never made such a complaint to me, and I

have no knowledge that she ever made such a complaint to any other Human Resources employee on

my staff, before July 18, 2011.

       8.       My recollection of the events on and after July 18, 2011 are as follows. Ms. Cooper

and Brandon Moore, an hourly employee who worked for Ms. Cooper, were brought to my office

that morning by Donovan Owens, Tar Heel’s Director of Operations. Mr. Owens informed me that

Ms. Cooper had showed up in his office with Mr. Moore that morning to complain about Mr.

Lowery, and Mr. Owens had immediately advised her to report to Human Resources to make a

formal complaint. I initially sat down with both Ms. Cooper and Mr. Moore. Ms. Cooper began by

telling me that she believed Mr. Lowery was sexually harassing her, and that he had made sexually

and racially inappropriate comments to her and others. She also said that Mr. Lowery had yelled at

her and a number of other individuals in the production office several days earlier.

       9.      Mr. Moore did not say much. He agreed that Mr. Lowery had yelled at them the

week before, but conceded he did not have firsthand knowledge of Ms. Cooper’s sexual harassment

allegations, and did not contend Mr. Lowery had made inappropriate remarks towards him. As a
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result, I concluded he had no material information to provide, so I excused him from the meeting.

Incidentally, I did not think Mr. Moore was a credible witness. Mr. Moore was an hourly employee.

Hourly employees are covered by a collective bargaining agreement and they have to submit formal

bids in order to move from one job to another. Ms. Cooper had elevated Mr. Moore’s pay several

times during the previous year by “promoting” him to a crew leader position without requiring Mr.

Moore to go through the formal bid process. I had demanded to Mr. Owens, Mr. Lowery and Ms.

Cooper at various times that they return Mr. Moore to his lower-paid hourly position so that we

would avoid a claim by the Union that we were violating the labor agreement. I also recall that Ms.

Cooper had allowed Mr. Moore to use her supervisor parking pass to park in the supervisor lot even

though he was not a supervisor. In other words, Mr. Moore received both pay and privileges to

which he was not entitled because of Ms. Cooper’s actions, some of which violated the labor

agreement. So not only did Mr. Moore appear to have no material information to provide in response

to Ms. Cooper’s sexual harassment claims, I was skeptical of his true motivation in coming into the

office to support her claims.

        10.     After Mr. Moore left, I continued the interview with Ms. Cooper. She insinuated that

she and Mr. Lowery had a consensual romantic relationship at one time, but that she had

discontinued the relationship because she was married. She claimed that Mr. Lowery continued to

ask her to have sex with him and that he harassed her when she declined. I asked her if there were

any witnesses who could corroborate her claims. She named Monica Williams, Elijah Locklear and

Sucorya Campbell, all individuals who worked with her. She did not name Brandon Moore. It was

mid-morning by the time we concluded our interview. Ms. Cooper was scheduled to work the

second shift, which began around 2:30 p.m. that afternoon. I didn’t want her having to work all night

without any sleep since she had worked the night before, so I told her to take the night off, with pay,

while I began the investigation. I asked Ms. Cooper to provide me with a written statement, which

she agreed to bring to me the following day.
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        11.     After Ms. Cooper left, I immediately began my investigation. Both Mr. Lowery and

the individuals she listed as witnesses were scheduled to work the second shift that day, so I

interviewed each of them that afternoon (July 18th).     I spoke individually with Ms. Williams, Ms.

Campbell, and Mr. Locklear, and I obtained their written statements. None of them could verify or

corroborate any of Ms. Cooper’s specific complaints about Mr. Lowery and his having harassed her.

Ms. Williams did make a claim in her written statement that she overheard Mr. Lowery saying to no

one in particular that before he lost his job over any “bitch,” he would kill them. No one else

corroborated her claim. I have since learned that Ms. Williams admitted that Ms. Cooper convinced

her to fabricate this claim in return for a portion of whatever settlement money Ms. Cooper obtains

from Smithfield. In any event, I could not corroborate Ms. Williams’ claim at the time I conducted

my investigation.

        12.     I also had Mr. Lowery report to my office and I thoroughly interviewed him. To

protect Ms. Cooper’s confidentiality, I did not tell Mr. Lowery that Ms. Cooper had initiated the

complaint against him. I reviewed each of the allegations being made and asked him to respond. Mr.

Lowery categorically and emphatically denied ever behaving inappropriately at any time.         I asked

him whether he had made sexual comments or suggestions to any of his employees; he said no. I

asked him if he had made offensive or threatening remarks towards or about any of his employees; he

said no. I asked him if he had used racial slurs on the floor in front of employees; he said no. I asked

him if he ever had an intimate relationship with Ms. Cooper; he said no. I asked him if he ever said

he would kill any “bitch” who threatened his job; he said no. I gave Mr. Lowery numerous

opportunities during our meeting to admit that he had behaved inappropriately, but he adamantly

denied wrongdoing.

        13.     The following day, July 19, 2011, I had Mr. Lowery execute a copy of our Anti-

Harassment policy highlight sheet, to make sure he understood his obligations under the policy (copy

attached as Exhibit 4).
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        14.     Ms. Cooper returned to my office on July 19th to bring me her written statement. A

copy of the document she handed me that day is attached as Exhibit 5. As Ms. Cooper handed me

her written statement, she informed me that she had talked to her husband the night before and had

decided to resign. I asked her not to quit, and told her that I had not finished my investigation. I told

her in no uncertain terms that if I verified her claims, Mr. Lowery’s employment would terminate. I

also told her that even if I couldn’t verify her claims, I could move either or both of them so she

would not need to work with him anymore. One suggestion I recall making is that I could move Mr.

Lowery from second shift to first shift so that he would no longer be supervising her and they would

not be in the plant during the same time. Ms. Cooper told me that was not good enough for her and

that she would just quit. I again asked Ms. Cooper not to quit.       I gave her the day off with pay,

again, and encouraged her to go home and talk with her husband some more. I asked her if she had

thought of any additional witnesses; she said no. Around that point, Ms. Cooper stood up, took off

her hardhat, shook my hand and said that she had just come to say goodbye to everyone. I told her

that I would continue my investigation even if she resigned, but that she should not quit before I

finished the investigation.

        15.     The following day, July 20, 2011, Ms. Cooper came back to Human Resources and

delivered a handwritten letter of resignation (copy attached as Exhibit 6) to one of my H.R.

generalists. I did not get a chance to speak with her again before she handed in her resignation.

        16.     I reviewed the information I had compiled with my supervisor. We concluded that

there was not sufficient information to verify Ms. Cooper’s claims against Mr. Lowery. I closed my

investigation into Ms. Cooper’s claims at that time, finding them to be unsubstantiated.

        17.     Other than the complaint Ms. Cooper made on July 18, 2011, I am unaware of any

other complaint of sexual harassment made against Tommy Lowery by Ms. Cooper or any other

Smithfield employee.



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